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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
 7

 8        Trevor Kevin Baylis                               CASE NO. 2:23-cv-01653-RSM
                                                            [to be filled in by Clerk’s Office]
 9
                                                            COMPLAINT FOR A CIVIL CASE
10                                                      ,
                                                            Jury Trial: ☐ Yes ☐
                                                                              � No
11                                  Plaintiff(s),
                 v.
12
          Valve Corporation, also known as,
13        Valve Software

14                                                  ,
15                                  Defendant(s).
16

17                          I.      THE PARTIES TO THIS COMPLAINT

18   A.      Plaintiff(s)

19          Provide the information below for each plaintiff named in the complaint. Attach
     additional pages if needed.
20
               Name                  Trevor Kevin Baylis
21
               Street Address        Jankanraitti 10 A 4

22             City and County       Tampere
               State and Zip Code    33560, FINLAND
23
               Telephone Number 3587225899
24


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 1   B.      Defendant(s)

 2          Provide the information below for each defendant named in the complaint, whether the
     defendant is an individual, a government agency, an organization, or a corporation. For an
 3   individual defendant, include the person's job or title (if known). Attach additional pages if
     needed.
 4
               Defendant No. 1
 5
                     Name                      Valve Corporation (A.K.A Valve Software)
 6                   Job or Title (if known)

 7                   Street Address            Floor 14, 10400 NE 4th St,
                     City and County           Bellevue WA,
 8
                     State and Zip Code        Washington, 98004, USA
 9                   Telephone Number          (425) 889-9642

10
               Defendant No. 2
11
                     Name
12                   Job or Title (if known)
13                   Street Address
                     City and County
14
                     State and Zip Code
15                   Telephone Number
16
               Defendant No. 3
17
                     Name
18
                     Job or Title (if known)
19                   Street Address
                     City and County
20
                     State and Zip Code
21                   Telephone Number
22

23

24


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 1             Defendant No. 4

 2                   Name
                     Job or Title (if known)
 3
                     Street Address
 4                   City and County
 5                   State and Zip Code
                     Telephone Number
 6

 7
                                      II.      BASIS FOR JURISDICTION
 8
             Federal courts are courts of limited jurisdiction (limited power). Generally, only two
 9
     types of cases can be heard in federal court: cases involving a federal question and cases
10
     involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
11
     the United States Constitution or federal laws or treaties is a federal question case. Under 28
12
     U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
13
     the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
14
     citizenship case, no defendant may be a citizen of the same State as any plaintiff.
15
             What is the basis for federal court jurisdiction? (select all that apply)
16
              Federal question:                    
                                                    � Diversity of citizenship:
17
                 If checked complete section A.          If checked complete section B.

18           Fill out the paragraphs in this section that apply to this case.
     A.      If the Basis for Jurisdiction Is a Federal Question
19
             List the specific federal statutes, federal treaties, and/or provisions of the United States
20
     Constitution that are at issue in this case. Attach additional pages if needed.
21

22

23

24


     COMPLAINT FOR A CIVIL CASE - 3
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 1   B.      If the Basis for Jurisdiction Is Diversity of Citizenship

 2                   1.       The Plaintiff(s)

 3                        a. If the plaintiff is an individual.

 4           The plaintiff (name)    Trevor Kevin Baylis                       , is a citizen of the

 5   State of (name) United Kingdom (Domicile: Finland) .

 6                        b. If the plaintiff is a corporation.

 7           The plaintiff, (name)                                             , is incorporated under

 8   the laws of the State of (name)                                           , and has its principal

 9   place of business in the State of (name)                                  .

10          (If more than one plaintiff is named in the complaint, attach an additional page providing
     the same information for each additional plaintiff.)
11

12                   2.       The Defendant(s)

13                        a. If the defendant is an individual.

14           The defendant, (name)                                             , is a citizen of the

15   State of (name)                                                           . Or is a citizen of

16   (foreign nation)                                                          .

17                        b. If the defendant is a corporation.

18           The defendant, (name)     Valve Corporation        , is incorporated under

19   the laws of the State of (name) Washington (state)         , and has its principal

20   place of business in the State of (name) Washington (state).

21           Or is incorporated under the laws of (foreign nation)                                     ,

22   and has its principal place of business in (name)                                                 .

23          (If more than one defendant is named in the complaint, attach an additional page
     providing the same information for each additional defendant.)
24


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 1                    3.      The Amount in Controversy.

 2         The amount in controversy-the amount the plaintiff claims the defendant owes or the
     amount at stake-is more than $75,000, not counting interest and costs of court, because (explain)
 3   Attach additional pages if needed:
     1. Defendant owes at least $1 096 451,5 actual damages based on information and belief to be the
 4   amount of gross revenue generated though unauthorized distribution by Valve Corporation of plaintiffs
     copyrighted works which is likely to go up over time as more revenue is generated by continued
 5   infringement.

 6   2. This figure is based on 'Revenue Sales Numbers, Boxleiter Method' to calculate gross revues from
     user reviews submitted by customers paying Valve Corporation for use and access to the infringing
     games.
 7

 8                                      III.     STATEMENT OF CLAIM

 9   Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as
     possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
10   State how each defendant was involved and what each defendant did that caused the plaintiff
     harm or violated the plaintiff's rights, including the dates and places of that involvement or
11   conduct. If more than one claim is asserted, number each claim and write a short and plain
     statement of each claim in a separate paragraph. Attach additional pages if needed.
12   3. Valve Corporation has distributed plaintiff's copyrighted works worldwide without authorization from
     plaintiff via numerous games related to the film Iron Sky of which plaintiff is an author. In particular
     Plaintiff created numerous 3D modeled space craft that appear prominently and feature as the main
13   game-play of the games being distributed. Film footage from Iron Sky also appears in the game
     featuring plaintiff's copyrighted material.
14   4. Valve Corporation were sent a DMCA request to remove the games. However, Valve Corporation
     continues to willfully infringe and monetize plaintiff's copyrighted material.
15
                                                   IV.      RELIEF
16
     State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
     not make legal arguments. Include any basis for claiming that the wrongs alleged are continuing
17
     at the present time. Include the amounts of any actual damages claimed for the acts alleged and
     the basis for these amounts. Include any punitive or exemplary damages claimed, the amounts,
18
     and the reasons you claim you are entitled to actual or punitive money damages. Attach
     additional pages if needed.
19
     5. Plaintiff asks court to order Valve Corporation to pay them at least $1 096 451,5 for actual damages
     as this is believed to be gross revenue generated by infringing actions as of 4 October 2023.
20
     6. Plaintiff asks court to order Valve Corporation to pay them further accruing actual damages from 4
21   October 2023 as the willful infringement is ongoing.

22   7. Plaintiff asks court to order Valve Corporation to cease their willfully infringing actions against Plaintiff.

                                  V.       CERTIFICATION AND CLOSING
23
          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
24
     knowledge, information, and belief that this complaint: (1) is not being presented for an improper


     COMPLAINT FOR A CIVIL CASE - 5
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